Case 2:14-cv-02286-PM-KK Document 1-1 Filed 07/11/14 Page 1 of 6 PageID #: 7




                                                          EXHIBIT 1
Case 2:14-cv-02286-PM-KK Document 1-1 Filed 07/11/14 Page 2 of 6 PageID #: 8
Case 2:14-cv-02286-PM-KK Document 1-1 Filed 07/11/14 Page 3 of 6 PageID #: 9
Case 2:14-cv-02286-PM-KK Document 1-1 Filed 07/11/14 Page 4 of 6 PageID #: 10
Case 2:14-cv-02286-PM-KK Document 1-1 Filed 07/11/14 Page 5 of 6 PageID #: 11
Case 2:14-cv-02286-PM-KK Document 1-1 Filed 07/11/14 Page 6 of 6 PageID #: 12
